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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST                               )
 DISTRIBUTION SYSTEMS, LLC,                         )
                                                    )
                 Plaintiff,                         )    C.A. No. 20-392-MN
                                                    )
        v.                                          )    JURY TRIAL DEMANDED
                                                    )
 DEEZER, INC.,                                      )
                                                    )
                 Defendant.                         )

   STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by Plaintiff Rothschild Broadcast

Distribution Systems, LLC and Defendant Deezer, Inc., by their undersigned counsel, subject to

the approval of the Court, that all claims and defenses asserted in the above-captioned action shall

be dismissed with prejudice, and each party will bear its own costs and attorneys’ fees.

 CHONG LAW FIRM, P.A.                               POTTER ANDERSON & CORROON LLP

 By: /s/ Jimmy Chong                                By: /s/ Bindu A. Palapura
     Jimmy Chong (#4839)                                David E. Moore (#3983)
     2961 Centerville Road, Suite 350                   Bindu A. Palapura (#5370)
     Wilmington, DE 19808                               Stephanie E. O’Byrne (#4446)
     Tel: (302) 999-9480                                Tracey E. Timlin (#6469)
     chong@chonglawfirm.com                             Hercules Plaza, 6th Floor
                                                        1313 N. Market Street
                                                        Wilmington, DE 19801
 Attorneys for Plaintiff Rothschild Broadcast           Tel: (302) 984-6000
 Distribution Systems, LLC                              dmoore@potteranderson.com
                                                        bpalapura@potteranderson.com
                                                        sobyrne@potteranderson.com
                                                        ttimlin@potteranderson.com
 July 1, 2020
 6783812/50151                                      Attorneys for Defendant Deezer, Inc.

       IT IS SO ORDERED this ___ day of _________________, 2020.


                                                        _________________________________
                                                                    U.S.D.J.
